1    TERRY A. DAKE, LTD.
     20 E. Thomas Rd.
2    Suite 2200
     Phoenix, Arizona 85012-3133
3    Telephone: (602) 710-1005
     tdake@cox.net
4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                                FOR THE DISTRICT OF ARIZONA
8
     In re:                        )            In Chapter 7 Proceedings
9                                  )
     PAULINA RUIZ BUHAGIAR;        )            Case No. 2:18-BK-03535-DPC
10                                 )
                          Debtor.  )
11                                 )
                                   )
12   ROBERT A. MACKENZIE,          )
          TRUSTEE,                 )            Adversary No. 2:18-AP-00402
13                                 )
               Plaintiff,          )
14   v.                            )
                                   )
15   PAULINA RUIZ BUHAGIAR;        )
                                   )
16             Defendant.          )
     ______________________________)
17
                            CERTIFICATE OF SERVICE
18   I, Terry A. Dake
     of TERRY A. DAKE, LTD.
19      20 E. Thomas Rd.
        Suite 2200
20      Phoenix, Arizona 85012-3133

21   certify:

22        I am, and all times hereinafter mentioned was, more than 18 years

23   of age;

24        On September 26, 2018, I served a copy of the Summons issued on

25   September   26,    2018,     together    with    the   Complaint      filed   in     this

26   proceeding,   by   mailing     those    papers   via   the   United    States Postal

27   Service, to the following persons at the addresses indicated:

28


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1
     PAULI NA RUIZ BUHAGIAR
2    5116 NORTH 29TH AVENUE, # 2
     PHOENIX, AZ 85017
3
     KENNETH L NEELEY
4    NEELEY LAW FIRM, PL C
     2250 E. GERMANN RD., SUITE 11
5    CHANDLER, AZ 85286
     480-802-4647
6    Fax : 480-907- 1648
     Email: ecf@neeleyla w.com
7
          I certify under penalty of perjury that the foregoing is true
8    and correct.
9
     Executed on September 26, 2018.
10

11
      /s/ TD009656
12   Terry A. Dake
13

14

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